 Case 1:16-cr-00051-JMB           ECF No. 46, PageID.108           Filed 05/04/16      Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:16-cr-00051
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
MICHELLE BONILLA,                   )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

        Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

May 3, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Michelle Bonilla entered a plea of guilty to Count 1 of the Indictment in exchange for

the undertakings made by the government in the written plea agreement. In Count 1 of the

Indictment, defendant is charged with conspiracy to distribute and possess with intent to distribute

cocaine and heroin in violation of Title 21, United States Code, Sections 846, 841(a)(1) and

841(b)(1)(C). On the basis of the record made at the hearing, I find that defendant is fully capable

and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
 Case 1:16-cr-00051-JMB           ECF No. 46, PageID.109           Filed 05/04/16       Page 2 of 2




         Accordingly, I recommend that defendant's plea of guilty to Count 1 of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: May 4, 2016                               /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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